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12
                               UNITED STATES DISTRICT COURT
13
                         FOR THE NORTHERN DISTRICT OF CALIFORNIA
14
                                       OAKLAND DIVISION
15

16    IN RE: CATHODE RAY TUBE (CRT)              )   Case No. 4:07-cv-05944-JST
      ANTITRUST LITIGATION,                      )
17                                               )   MDL No.: 1917
                                                 )
18    THIS DOCUMENT RELATES TO:                  )   NOTICE OF APPEAL
                                                 )
19    ALL DIRECT PURCHASER ACTIONS               )   Judge: The Honorable Jon S. Tigar
                                                 )
20    ALL INDIRECT PURCHASER ACTIONS             )
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21                                               )
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                                                                      CASE NO. 3:07-CV-05944-JST
      NOTICE OF APPEAL                                                             MDL NO. 1917
            Case 4:07-cv-05944-JST Document 5650 Filed 11/22/19 Page 2 of 2


1                                        NOTICE OF APPEAL
2           PLEASE TAKE NOTICE that Irico Group Corp. and Irico Display Devices Co., Ltd.

3    (together, “Irico”), defendants in the above-named case, hereby appeal to the United States

4    Court of Appeals for the Ninth Circuit from the order entered in this action on October 29,

5    2019, denying Irico’s motions to dismiss the claims of the Direct Purchaser Plaintiffs and the

6    Indirect Purchaser Plaintiffs for lack of jurisdiction under the Foreign Sovereign Immunities

7    Act (“FSIA”) (Dkt. 5637). This appeal is taken pursuant to 28 U.S.C. § 1291. See Cohen v.

8    Beneficial Indus. Loan Corp., 337 U.S. 541, 546 (1949) (decisions that “finally determine

9    claims of right separable from, and collateral to, rights asserted in the action” are immediately

10   appealable under § 1291 if “too important” and “too independent” from the merits to delay

11   appellate consideration); Compania Mexicana de Aviacion, S.A. v. U.S. Dist. Ct. for the C.D.

12   Cal., 859 F.2d 1354, 1358 (9th Cir. 1988) (final orders denying foreign sovereign immunity are

13   immediately appealable under the Cohen collateral order doctrine).

14

15    Dated: November 22, 2019                                /s/ Stuart C. Plunkett
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